                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 UNITED STATES OF AMERICA,                         )   CASE NO.:     3:21 CV 22
                                                   )
                Plaintiff,                         )   JUDGE JACK ZOUHARY
                                                   )
        v.                                         )
                                                   )
 SHAFFER PHARMACY, INC.; THOMAS                    )   TEMPORARY RESTRAINING ORDER
 TADSEN; and WILSON BUNTON,                        )
                                                   )   FILED TEMPORARILY UNDER SEAL
                Defendants.                        )


       This matter comes before the Court upon Plaintiff’s Ex Parte Motion for a Temporary

Restraining Order (“Ex Parte Motion”). Upon consideration of the Ex Parte Motion pursuant to

Federal Rule of Civil Procedure 65(b), 21 U.S.C. §§ 843(f) and 882(a), the Memorandum of Law

in Support, the Declarations in Support, and the Complaint, the Court finds that:

       1.      The United States has demonstrated that Defendants Shaffer Pharmacy, Inc.,

Thomas Tadsen, and Wilson Bunton (“Defendants”) violated the Controlled Substances Act

(“CSA”), 21 U.S.C. §§ 829, 841(a)(1) and 842(a)(1);

       2.      The United States has also demonstrated that advance notice to Defendants will

result in immediate and irreparable injury, loss, or damage, namely: (a) harm to patients and the
community from Defendants continued dispensation of controlled substances and (b) the

destruction of evidence related to Defendants CSA violations;

          3.     Injunctive relief to prevent further CSA violations by Defendants and to protect the

public is authorized by 21 U.S.C. §§ 843(f) and 882(a).

          4.     Defendants’ CSA violations will continue unless a temporary restraining order is

issued.

          5.     The conditions for granting a temporary restraining order under Federal Rule of

Civil Procedure 65(b) and 21 U.S.C. §§ 843(f) and 882(a) are therefore met;

          Based on the foregoing, it is therefore

          ORDERED AND ADJUDGED as follows:

          A.     The Motion is GRANTED without prior notice to Defendants.

          B.     Defendants are temporarily restrained from distributing any and all controlled

substances as defined and identified in 21 U.S.C. §§ 802(6) and 812, and 21 C.F.R. §§ 1308.11-

1308.15.

          C.     All controlled substances in the possession, custody, or control of Shaffer

Pharmacy, Inc. shall be sealed immediately upon service of this Temporary Restraining Order.

This seal shall continue pending further order of this Court.

          D.     Defendants are temporarily restrained from altering, deleting, destroying,

mutilating, or transferring any record within its possession, custody, or control related to the

dispensation of controlled substances.

   Dated: January 7, 2021


                                                    By:   s/ Jack Zouhary
                                                          District Court Judge




                                                     2
